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      IT IS ORDERED as set forth below:



      Date: July 2, 2025
                                                               _________________________________

                                                                         Barbara Ellis-Monro
                                                                    U.S. Bankruptcy Court Judge

     ________________________________________________________________




              IN THE UNITED STATES BANKRUPTCY COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION
 IN RE:                        :
                               :    CHAPTER 7
 ARC MANAGEMENT GROUP, LLC, :
                               :    Case No. 23-61742 - BEM
          Debtor.              :

      ORDER (A) AUTHORIZING AND SCHEDULING AN AUCTION AT WHICH THE
       TRUSTEE WILL SOLICIT THE HIGHEST OR BEST BID FOR THE SALE OF
     ASSETS; AND (B) APPROVING BID PROCEDURES GOVERNING THE PROPOSED
     SALE INCLUDING PAYMENT OF EXPENSE REIMBURSEMENT AND BREAKUP
                                     FEE

           This matter is before the Court on the Motion (A) for Authority to Sell Assets Free and Clear

 of Liens, Claims, and Encumbrances; (B) to Establish Procedures With Respect to Such Sale; (C)

 Consider Approval of Breakup Fee and Expense Reimbursement; and (D) to Shorten and Limit

 Notice (the “Motion”)1 that was filed by S. Gregory Hays, as Chapter 7 Trustee (“Trustee” or


 1
     Capitalized terms not defined herein shall have the meanings ascribed to such terms in the Motion.


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 “Seller”) for the bankruptcy estate (the “Estate”) of ARC Management Group, LLC, Debtor (the

 “Debtor”) in the above captioned case (the “Case”). In the Motion, the Trustee seeks the entry of

 (i) an order approving a sale and bidding process to be used in connection with the proposed sale

 of certain identified assets (the “Identified Assets”), and (ii) an order approving the sale by the

 Seller of the Identified Assets to Medical Debt Resolution, Inc. dba Undue Medical Debt

 (collectively with its affiliates, “Undue”) or to the bidder submitting the highest or best bid for the

 Identified Assets in connection with the sale and bidding process. It appearing that the approval

 of the bid procedures (collectively, the “Bid Procedures”) as requested in the Motion is in the best

 interests of the Debtor, the Estate and creditors; and after due deliberation thereon; and good and

 sufficient cause appearing therefor, it is hereby FOUND AND DETERMINED THAT:

          A.      The form and manner of notice of the Bid Procedures and the Bid Procedures

  Hearing shall be, and hereby are, approved as sufficient and adequate notice. No other or further

  notice in connection with the entry of this Order is or shall be required.

          B.      The Bid Procedures were proposed by the Trustee in good faith with the goal

  of maximizing the value of the Portfolios and the Identified Assets for the benefit of all

  creditors of the estate.

          C.      Undue has negotiated and entered into a definitive asset purchase agreement with

  the Trustee setting forth the terms and conditions pursuant to which Undue proposes to acquire

  the Identified Assets (the “Sale Agreement”) and to consummate the transactions contemplated

  thereby that constitutes an initial offer that will serve as a “floor” for further bidding.

          NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

  THAT:




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        1.      The Motion is granted to the extent set forth in this Order. The following “Bid

 Procedures” are hereby approved and shall be used in connection with the proposed sale of the

 Identified Assets:

                a. Initial Overbid. Any third party (other than Undue) that is interested in acquiring
                   the Identified Assets must submit an “Initial Overbid” in conformance with the
                   Bid Procedures by not later than 5:00 p.m. local time in Atlanta, Georgia on
                   July 15, 2025 (the “Overbid Deadline”). Any such Initial Overbid must:
                         i. Contain a signed definitive asset purchase agreement (together with a
                            copy of the signed agreement that is marked to show changes from the
                            Sale Agreement with Undue) with, at a minimum, the following
                            requirements: (1) having substantially identical terms and conditions as
                            the Sale Agreement with Undue, except with higher and better
                            consideration; (2) containing terms and conditions otherwise no less
                            favorable to the Estate than the terms and conditions in the Sale
                            Agreement (provided that no Initial Overbid shall provide for the
                            payment to the overbidder of any breakup fee, topping fee, expense
                            reimbursement or other similar arrangement); (3) provide for
                            consideration to the Trustee in an amount equal to or greater than the
                            sum of (a) the consideration payable by Undue under the Sale
                            Agreement, plus (b) an additional amount of $185,000 in cash; (4) not
                            be subject to any (a) financing contingency, (b) contingency relating to
                            the completion of unperformed due diligence, (c) contingency relating
                            to the approval of the overbidder’s board of directors or other internal
                            approvals or consents, or (d) any conditions precedent to the
                            overbidder’s obligation to purchase the Identified Assets other than
                            those included in the Sale Agreement with Undue; and (5) provide that
                            the overbidder shall purchase all of the Identified Assets;
                        ii. Include a cashiers’ or certified check as a deposit in the aggregate
                            amount of $100,000.00, payable to an independent escrow agent to be
                            designated by the Seller (it being understood that deposits may also be
                            sent by wire transfer of immediately available funds);
                      iii. To the extent not previously provided to the Trustee, be accompanied
                            by evidence satisfactory to the Trustee that the Purchaser can complete
                            the transaction;
                       iv. Remain open and irrevocable until one hundred (100) days after the
                            entry of an order by the Court approving a definitive agreement
                            providing for the sale of the Identified Assets; and
                        v. Be submitted to (1) counsel to the Trustee, Law Offices of Henry F.
                            Sewell Jr., LLC, Buckhead Centre, 2964 Peachtree Road NW, Suite
                            555, Atlanta, GA 30305 (Attn: Henry F. Sewell, Jr., Esq.)
                            (hsewell@sewellfirm.com), (2) counsel to Undue, Sheehan Phinney
                            Bass & Green PA, 1000 Elm Street, 17th Floor, Manchester, NH 03101,
                            Attn: Christopher M. Candon (ccandon@sheehan.com), and (3) Office



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                       of the U.S. Trustee, 362 Richard Russell Bldg., 75 Ted Turner Dr,
                       SW, Atlanta, Georgia 30303, in each case so as to be received not later
                       than the Overbid Deadline.

            b. Auction. In the event the Trustee timely receives a conforming Initial Overbid
               from a prospective purchaser as described above (a “Qualified Bidder”), then
               the Trustee will conduct an Auction with respect to the sale of the Identified
               Assets on July 16, 2025, beginning at 10:00 a.m. local time, at the offices of
               counsel for the Trustee, Law Offices of Henry F. Sewell Jr., LLC,
               Buckhead Centre, 2964 Peachtree Road NW, Suite 555, Atlanta, GA 30305
               (Attn: Henry F. Sewell, Jr., Esq.), or at such other location as may be designated
               by the Trustee. In order to participate in the Auction, each prospective purchaser
               shall be required to comply with the requirements of the Bid Procedures and to
               submit an Initial Overbid that is timely and that complies in all respects with the
               Bid Procedures Order. At the Auction, Qualified Bidders and Undue (it being
               understood that Undue shall be deemed to be a Qualified Bidder) may submit
               successive bids in cash increments of at least One Hundred Thousand Dollars
               $100,000 greater than the prior bid for the purchase of the Identified Assets until
               there is only one offer that the Trustee determine (in the exercise of their sole
               discretion), subject to Court approval, is the highest or best offer for the
               Identified Assets (the “Prevailing Bid”). When bidding at the Auction, Undue
               shall receive a cash “credit” in an amount equal to the sum of the maximum
               Expense Reimbursement plus the Breakup Fee. All bidding for the Identified
               Assets will be concluded at the Auction and there will be no further bidding at
               the Sale Hearing. If no conforming Initial Overbid from a Qualified Bidder shall
               have been received at or prior to the Overbid Deadline, the Auction will not be
               held, Undue shall be designated as the highest and best bid, and the Sale Hearing
               will proceed with respect to the Sale Agreement with Undue on an expedited
               basis. In determining the Prevailing Bid, consideration will be given to, among
               other things: (i) the number, type and nature of any changes to the Sale
               Agreement with Undue requested by each bidder; (ii) the extent to which such
               modifications are likely to delay closing of the sale of the Identified Assets and
               the cost to the Trustee of such modifications or delay; (iii) the total consideration
               to be received by the Seller; (iv) the likelihood of the bidder’s ability to close a
               transaction and the timing thereof; (v) the net benefit to the Estate; and (vi) the
               amount of the bidder’s experience acquiring, owning, rehabilitating and
               managing projects that are substantially similar to the Portfolios. At the Auction,
               Undue shall have the right to (i) submit further bids along with a markup of the
               Sale Agreement with Undue; and (ii) at any time, request that the Trustee
               announce, subject to any potential new bids, the then current Prevailing Bid and,
               to the extent Undue requests, use reasonable efforts to clarify any and all
               questions Undue may have regarding the Trustee’ announcement of the then
               current Prevailing Bid. Only the persons who submitted Initial Overbids and
               Undue may participate in the Auction. After the Auction has concluded, the
               Trustee shall present the Prevailing Bid to the Court for consideration and
               approval at the Sale Hearing.



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            c. Sale Hearing. The Sale Hearing will be conducted on July 17, 2025 at 11:00
               a.m. local time in Courtroom 1402 at the United States Bankruptcy Court,
               75 Ted Turner Dr, S.W., Atlanta, Georgia 30303, at which time the
               Trustee intends to present the Prevailing Bid for approval by the Court
               pursuant to the provisions of Sections 105, 363(b), 363(f), 363(m), and
               363(n) of the Bankruptcy Code. The Trustee shall be deemed to have
               accepted a bid only when the bid has been approved by the Court at the Sale
               Hearing. You may attend this hearing through the Court’s Virtual Hearing
               Room through the “Dial-in and Virtual Bankruptcy Hearing Information”
               link at the top of the homepage of the Court’s website,
               www.ganb.uscourts.gov, or the link on the judge’s webpage, which can also
               be found on the Court’s website. Please also review the “Hearing
               Information” tab on the judge’s webpage for further information about the
               Hearing

           ci. Highest and/or Best Bid. At all times during the proposed sale process, the
               Trustee shall retain the right to determine, in their reasonable discretion, which
               bid constitutes the highest or otherwise best offer for the purchase of the
               Identified Assets, and which bid should be selected as the Prevailing Bid, if any,
               all subject to final approval by the Court pursuant to the provisions of Section
               363(b) of the Bankruptcy Code. Without limiting the generality of the
               foregoing, the Trustee may, at any time before entry of an order of the Court
               approving a Prevailing Bid, reject any bid (other than the Undue bid, as reflected
               in the Sale Agreement) that, in the reasonable discretion of the Trustee, is (i)
               inadequate or insufficient, (ii) contrary to the requirements of the Bankruptcy
               Code or the Bid Procedures, (iii) from a bidder that does not have substantial
               experience acquiring, owning, rehabilitating and managing projects that are
               substantially similar to the Portfolios, or (iv) otherwise contrary to the best
               interests of the Estate or its creditors.

           cii. Sale Implementation. Following the approval of the Prevailing Bid at the Sale
                Hearing, the Trustee will be authorized and directed to take all commercially
                reasonable and necessary steps to complete and implement the transaction(s)
                contemplated by the Prevailing Bid, including (but not limited to) seeking entry
                of one or more Sale Orders.




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        2.       Objections (if any) to approval of any Prevailing Bid or to approval of any

 proposed sale of the Identified Assets pursuant to any Prevailing Bid, shall be in writing, shall set

 forth the name of the objecting party, the basis for the objection and the specific grounds therefor,

 and shall be filed with the Court and served upon each of the following so as to be actually

 received on or before 5:00 p.m. on July 16, 2025: (a) counsel to the Trustee, Law Offices of

 Henry F. Sewell Jr., LLC, Buckhead Centre, 2964 Peachtree Road NW, Suite 555, Atlanta, GA

 30305 (Attn: Henry F. Sewell, Jr., Esq.) (hsewell@sewellfirm.com), (b) counsel to Undue,

 Sheehan Phinney Bass & Green PA, 1000 Elm Street, 17th Floor, Manchester, NH 03101,

 Attn: Christopher M. Candon (ccandon@sheehan.com), and (c) Office of the U.S. Trustee, 362

 Richard Russell Bldg., 75 Ted Turner Dr, SW, Atlanta, Georgia 30303, (Facsimile: (404)

 331-4464). Any objection not filed and served in accordance with this paragraph 2 shall be

 deemed waived and shall be forever barred.




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        3.      The failure of any third party to file and serve an objection as ordered and directed

 herein shall be deemed the consent of such party to the granting of the Motion and the sale and

 transfer of the Identified Assets. In the event that the party submitting the Prevailing Bid is a

 party other than Undue and the sale to such party is consummated, the Trustee are authorized to

 (a) pay to Undue an agreed-upon “Breakup Fee” in an amount equal to $60,000 (the “Breakup

 Fee”); and (b) reimburse Undue for its reasonable and documented actual out-of-pocket fees

 and expenses (including legal, accounting, escrow and other fees and expenses) incurred in

 connection with, or related to (directly or indirectly), the transactions contemplated by the

 Agreement, in an amount not to exceed $100,000 (the “Expense Reimbursement”); provided,

 however, that such Breakup Fee and Expense Reimbursement shall be due and payable only if the

 Trustee has consummated an Alternative Transaction for the Identified Assets to a third party

 other than or related to the Undue (the “Alternative Transaction”) and Undue is ready,

 willing and able to close the transaction and is not in default under the Agreement. For the

 avoidance of doubt, Seller shall not be obligated to pay and Undue shall not be entitled to receive

 the Expense Reimbursement or the Breakup Fee if no Alternative Transaction occurs or if the

 Seller terminates this Agreement as a result of breach of the Agreement by Undue.

        4.      In the event that the Breakup Fee and Expense Reimbursement are payable

 pursuant to the preceding paragraph, (a) the Breakup Fee and Expense Reimbursement shall be

 treated as allowed administrative expense claims in the Case to be paid out of the sale proceeds at

 the closing of the Alternative Transaction for the Identified Assets to such third party; and (b) no

 lien of any third party shall attach to the portion of the sale proceeds representing the

 Breakup Fee and Expense Reimbursement.




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        5.      The Bid Procedures (including the Breakup Fee and Expense Reimbursement) are

 fair and reasonable, are reasonably calculated to produce the best and highest offers for the

 Identified Assets, and will confer actual benefits upon the Estate. The Bid Procedures (including

 payment of the Breakup Fee and Expense Reimbursement, if applicable) represent an exercise of

 the sound business judgment of the Trustee and will facilitate an orderly sale process.

        6.      Counsel for the Trustee is directed to serve a copy of this Order as contemplated in

 the Motion and to file a Certificate of Service evidencing such service within three (3) days of

 effectuating service.

                                      END OF DOCUMENT

 Prepared and Presented By:

 LAW OFFICES OF HENRY F. SEWELL JR., LLC

 By: /s/ Henry F. Sewell, Jr.
 Henry F. Sewell, Jr.
 Georgia Bar No. 636265
 Counsel for the Trustee

 Law Offices of Henry F. Sewell, Jr., LLC
 Buckhead Centre
 2964 Peachtree Road NW, Suite 555
 Atlanta, GA 30305
  (404) 926-0053
 hsewell@sewellfirm.com




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                                     DISTRIBUTION LIST

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 75 Ted Turner Drive, SW
 Atlanta, Georgia 30303
 S. Gregory Hays, Trustee
 2964 Peachtree Road NW, Suite 555
 Atlanta, GA 30305




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